 

' *R B E R r L.. wl Ai N E
ATTORNEY AT l_.bvvlr

suslNEss AND coRPoRATE LiTch'rioN AND
MED|ATION

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August "l, 2003

VlA E|VlAlL

Counse| of Record:
brnich `»1
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Re: |\/|ediator’s Letter Scheduling F-`irst Te|ephone Conference; Washington Mutual
Eank v. l~`-'ide|ity Capita| Funding lnc., C 08-0'1407 EI\/lC l

 

lear Counse|:
l have been appointed by the_Court to serve as the mediator in this action

Please review ARl l._R. 6 Which governs the mediation

l have attached materials describing my professional and mediatione)<perience.

l\/ly conflicts check reveals no actuator potential conflicts of interest under 23 U..S.C.
section 455(3) and (b) and I am not aware of any other circumstances that might
compromise my impartiality or the appearance of impartiality1 except this Waiveable
conflict: in lecember 2007, l served as court- appointed mediator in Washington
lVlutual Bank v. Unified Capital Group, Inc.g Case No. 00703055 MMC, and dealt With

present counsel for Washington |Vlutuai. The action did not settle l see no reason Why

l cannot serve as an impartial mediator in this new action5 and am Willing to do so
unless there is objection by the parties

Pursuant to ADR L.R 6-6j l Wi|l conduct a telephone conference With all counsel before
the formal mediation to discuss the following: `

the procedures to be followed;
the nature of the case;

appropriate dates for the mediation and anticipated length of the session;

the parties Who must be present under ADR I_.R. 6-~9 and the parties Who need to be
present to have a productive mediation session;

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` ideas to improve the effectiveness of the mediation session or matters that could pose
impediments;

requirements for your Written mediation statements; _

any questions you might have about how | normally conduct mediations; and

any questions you might have about the mediation program

l anticipatethat the telephone conference Will last approximately one-half hour.

To expedite scheduling l have arbitrarily set the telephone conference for luesd|ay,
August 12, at 130 P.l\/l., Ca|ifornia time. | Wi|| initiate the call. Please promptly confirm

_ your availability by emai|, indicating the telephone to be utilized for your participation lf
you are not available at this time, please Worl< first With opposing counsel and then With
me to establish an alternative time for the telephone conference Eefore the telephone
conference please ascertain from your clients and any insurers alternative dates upon
vvhich the mediation session may be conducted l am advised that the final date the

_ mediation can be held is lctober 3, 2008, and that it can be conducted at the federal
courthouses in either San Francisco or San Jose, as the parties may prefer.

l look forward to serving as mediator in this action

l ::::
__.' "1!:'.

  

   

|l.q*l'l'u :-;lll.,"

Robert L. l\/laines
Cc: Clerk’s iffice l Unit (A|ice____Fiel@cand.uscourts.gov)

Encls.

 

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BUS|NESS AND CORPORATE LlTIGATlOl\l AND
MEDIAT|ON

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ROBERT l._. l\/lAll\lES has an active business and corporate lavv litigation and mediation
practice having been for twenty years a partner in the San F'"rancisco and Silicon 'Valley offices
of the prominent California law firm of Pettit 3 l\/lartin and the managing partner of its Silicon
\/alley office, and for ten years a partner of and of counsel to Eryant, Clohan, [Eller, hialnes] 31
Baruh, LLP of Palo Alto, and San Jose, California, and of counsel to "'l“omlinson Zisl»<o l....l..P of
` Palo Alto, California. An honors graduate of l\/liaml University and of Stanford Lavv School
(Order of the Coif; Stanford l..avv Revievv) lVlr Maines is a vvell- -respected member of the State
Bar of Califomia and the bars of several federal courts including the United States Supreme

Court l\llr l\/laines has specialized in complex business commercial and real estate litigation 1n

a vvide variety of contexts and is recognized for successfully representing clients in achieving
their business and litigation objectives His extensive Worl< in the general practice areas of
contracts corporations and real estate law includes particular experience in antitrust unfair
competition and securities laws matters ll/lr l\/laines has served as corporate counsel for
public and private companies as part of his law practice Advocacy in alternative dispute
resolution and service as a mediation arbitrator and neutral evaluator are also an important part
of the practice of l\/lr. l\flaines vvho has been a principal litigator or mediator in many significant
cases that have successfully resolved in alternative dispute resolution Over the years lVlr.
l\fiaines has ertten and lectured on various business counseling and litigation matters for, among
othersl Practising L.avv lnstitute; California Contlnuing Education of the Bar; Nevada Gontinulng
Education of the Bar; Federal Publications, lnc.; Federal Practice Program; Hastlngs L.avv' 3chool
and Stanford l._avv School. l\/lr. _Maines is a member of the litigation business lavv and/or alternative

dispute resolution sections of the American Bar Associatlon, the State Bar of California and local ,
bar associations

ALTERNATWE mature RESOLUTI()N sACKonotlun inv o alton

Name:

Address:

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Contact Information:

li`ees:

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_ Facsimile: 650 321 3355; Email: maines@robertinaineslatncom

5350/111”1 or as agreed by the parties

Other Costs: By agreement of the parties1

Mediation Experience:

l have very significant mediation experience as ant

advocate in mediation (sim:e 1989) and neutral mediator of business
disputes, independently (since 1993) and as leather of the alternative
dispute resolution panels (mediation) of 1131 District Conrn N1ll1 of Ca
(Since 1993), Caliit`ornia Court of Appeal,, First Appellate district

(since 2003).,, and California Superior Courts, Santa Clara County
(since 1993) and San Mateo Cotmty (since Ztldrl-) Not only have l

mcdiated a significant number of cases9 but most of my major litigat ton

cases as an advocate over the last several years have settled as a
consequence of mediation

Mediation Training:

Advanced Mediation Training seminar (Judicial Council of lilly l`irst

District Conr“t of Appeal; 20031 14 hours); Cnmprehensi've ediation

 

lTraining seminar (Bar Association of San Francisco/.lohn lent qloses

Group; 1993 40 hours); Advanced Mediation Slnlls seminar (Peppet»»

cline Scbool of Law; 1993,13 hours); Negotiation Worlmbop (Stant`ord
LaW Scliool;1993,'7 hours); litigation Risk Analysis seminar (11111-~

gotten Risk Analysis; 1993, 10 hours); Mediation Training (U 51
District Co'urt N D of CA;1993,14 hours); among other training1

I regularly participate m continuing education seminars including an
ongoing advanced mediation seminan

Arbitration Erperience:
Esperience: Advocate in arbitration (since 1333) and neutral arbi-»~

trator of business disputes as member ot" the alternative dispute reso-llll
lution panels (arbitration) of the American erbitration 1association
(1993-12003) and California Su'perior Cour‘t (i'udicial arbitration)y dante
Clara County (at various times, since 1993)1

Arbitration Training:
Basic Arl)itration Training (1993, 7 hours) and Commercial
Arl)itration Training (1999, 6 hours) by the emerican erbitration

Association1

Neutral Evaluation Background:
Erperience: Advocate in neutral evaluation and neutral

evaluator as member of the alternative dispute resolution panels
(neutral evaluation) of the U..S1 District Cot.,trtj N1D1 of Cb (since
(1933) and Calit`ornia Superior Courts, Santa Clara County tsince
1993) and San Mateo County (sinee 2004)1

Neutral Evaluation Training: Neutral Evaluator "lraining(US1

District Court1 N1D. of CA; 1937, 7 'hours); lion to llse Neutral
Evaluation to your advantage (California Superior Courty dan ateo

County3 Multi-»Option A_DR Project; 2003, 2 l'lo‘urs)9 among other
training

 

Settlement Cont‘erence Esperience: .
Advocate in court settlement conferences (since 193 tl) and settlement
conference neutral (.ludge Pro Tem) as member of the alternative
dispute resolution panel (mandatory settlement conferences) of
Calit`ornia Superior Court, Santa Clara County (at various times since

won

Sub j eet Matter A.reas of Significant Experience:
Litigation advocacy and ADR process; legal practice areas: Business;
Commercial; Contracts; Corporations and Corporate Securities; Real
Estate; Antitrust; and Unfair Competition1

Education: _
Miami University, BSBA (Eo;:onomics51 Accounting);

Stant`ord University, School ot' Law, .lD (Order of the Coil’;
Stant`ord Law Review);

Ertensive continuing legal education as instructor and Student9
including litigation advocacy and ADR process

Mediation Approacli:

l enthusiastically embrace mediation as a remarkable process

that enables parties successfully to negotiate for possible resolution of
their disputes in a civil and cost-effective mention l take seriously the
opportunity the mediator has in professionally facilitating the j;lroccss1
My approach is to solicit mediation briefs from the parties inhibit l
carefully review in grounding myself for the lediation session lite
session begins With a joint gathering of all parties each of Whom

is encouraged to make an oral presentation end to respond to the
other sideis presentation The initial joint session is followed by

separate caucuses and additional joint sessions as may be appropriate

My approach is largely facilitative (as opposed to directive) in the joint
sessions and in the early separate caucuses3 becoming more directive in
subsequent caucuses and perhaps in joint sessions as seems
appropriatein the cichnostances1 l believe that parties arc entitled to
the benefit of my substantial experience as litigator and as mediatorEl
and that there are definitely times Wllen it is appropriate and helpful
to depart from the classic facilitative approach51 particularly in

mediation of business disputes that are already in litigation or on
appeal1

Arbitration Approacli:

My approach to arbitration is traditional Wliile reasonably informal
and enpedient, the process is professional and controlled consistent
tvitb What makes sense l Work With the parties to establish an agreed
llllon protocol for the particular arbitration l solicit _pre-»»and post-1-
arbitration briefs and additional briefs Wlien appropriate l

believe in appropriate discovery consistent vvith the amount in
controversy11 Subj oct to streamlined procedures for enhibits9

testimony is taken much as it Would be in a court trial nith relasa.tion
of certain procedural rules and rules of evidence l do fultonr subll
stantive law and decide the case on the facts in evidence in conla
formance with the law. l Will issue a reasoned, vvritten decision

Neutral Evaluation Approacb:

Unless agreed otherwise by the libertiesEl l generally follow Rule 5 of
the ADR Local Rules of the U..S. District Co'urt, N1D1 of CA., vvhich

has proven effective especially Wlten coupled vvith mediation

